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United States District Court

AO 91 (Rev. 11/11) Criminal Complaint Southern District Of Texas
UNITED STATES DISTRICT COURT OCT 17 2019
for the

David J. Bradley, Clerk

Southern District of Texas

United States of America
v.

Matthew Lee Sepulveda

* YOB: 1995 Citizenship: USC

Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _ On or about June 29-30, 2019 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 242 “While acting under the color of law, willfully deprived Person A of liberty

without due process of law, which includes the right to bodily integrity, a right.
secured and protected by the Constitution and the laws of the United States.

18 U.S.C. 242 _ While acting under the color of law, willfully deprived Person B of liberty
without due process of law, which includes the right to bodily integrity, a right
secured and protected by the Constitution and the laws of the United States.
. This act included aggravated sexual abuse and kidnapping.

This criminal complaint is based on these facts:

See attachment.

. @ Continued ou the attached sheet.

F .
a Complainant’s signature

Brendan Roth, FBI Special Agent

Printed name and title

Sworn to before me and signed in my presence.

Date: 10/17/2019 . 4

. udge’s signature
City and state: McAllen, Texas ‘J. &cott Hacker, U.S. Magistrate Judge

V / Printed name and title
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The Defendant was employed as a Progreso Police Department officer from April 17, 2019, to July-2,
2019. ,

On June 28, 2019, at approximately 11:40 p.m., the Defendant, during the performance of his duties as a
police officer, conducted a traffic stop on a vehicle driven by Person A. Subsequently, the Defendant
arrested Person A and transported him back to the Progreso Police Department.

While Person A was being detained at the Progreso Police Department, the Defendant informed Person

A that he was going to the county jail and would be deported. The Defendant then placed Person A into ~
a holding cell at the Progreso Police Department. Approximately 20 minutes later, the Defendant
removed Person A from the holding cell and took him to the police squad room where the Defendant
performed oral sex on Person A. Afterwards, the Defendant released Person A.

On June 30, 2019, at approximately 3:30 a.m., the Defendant, during the performance of his duties as a
police officer, and two other officers conducted a traffic stop on a vehicle with seven juvenile occupants.
All of the occupants were advised to call their parents to come pick them up. One of the juveniles,

Person B, and another juvenile. were unable to get into contact with their parents so the Defendant took —
them back to the Progreso Police Department

Once back at the Progreso Police Department, the Defendant had Person B and the other juvenile
remove their belts and shoes. The Defendant then placed the other juvenile into a holding cell and
escorted Person B to the squad room. The Defendant informed Person B he would take them home, but
that Person B would have to do a favor for him first. The Defendant told Person B to shut the door to the
squad room. The Defendant reached over and touched Person B’s penis and then began to perform oral
sex on Person B. Subsequently, Person B was returned to the jail cell. Later, the Defendant drove both of
the individuals to their residence and released them.
